                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                          CRIMINAL NOS. 3:01CR85-6 & 3:04CR3


UNITED STATES OF AMERICA                       )
                                               )
                                               )
                VS.                            )              ORDER
                                               )
                                               )
BRADLEY THOMAS WALLACE                         )
                                               )


        THESE MATTERS are before the Court sua sponte to continue the supervised release

violation hearings scheduled for Monday, June 6, 2005, in Statesville.

        The Court has been advised that this Defendant has been charged in a new indictment,

United States v. Johnson, et al., Criminal No. 3:05cr62; therefore, in the interest of judicial

economy, the Court finds that the hearings in these cases should be continued until after

Defendant’s plea or trial on the charges contained in the new indictment.

        IT IS, THEREFORE, ORDERED that the hearings on Defendant’s supervised release

violations are hereby CONTINUED. The Clerk is requested to reassign these matters to another

judicial officer.




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                         Signed: May 25, 2005




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